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IN THE UNITED STATES DISTRICT COURT

05 JUN l 7 ph ‘
FOR THE WESTERN DISTRICT OF TENNESSEE h' 163

 

WESTERN DIVISION §§£§F§§r;;é aj mo
CHARLES M. MURPHY, JR.,
Plaintiff, Case No.: 05-2407 D
V.
UNITED STATES OF AMERICA,

Defenda.nt.

 

ORDER DENYING MOTION TO RECUSE AND REASSIGNING CASE

 

Before the Court is Plaintiff’s motion to recuse in this case. Upon thorough consideration
of the Plaintiff’ s motion, statements and the record, the Court finds no basis for recusal In fact,
Plaintiff’ s allegations are completely lacking in merit.

Notwithstanding, because Plaintifi’ s attacks are highly venomous, this Court will direct the

Clerk to reassign this case to another judge

    

TED STATES DIS'I`R_ICT JUDGE

Thts document entered on the docket s once
with Rule 58 and/or 79(a) FRCP on

 

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Charles M. l\/luprhy

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Honorable Samuel Mays
US DISTRICT COURT

